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9                       UNITED STATES DISTRICT COURT
10                     CENTRAL DISTRICT OF CALIFORNIA
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                                                 )
12   KARYL CLARKE,                               )    Case No. CV 14-7366-GW (JEM)
                                                 )
13                       Plaintiff,              )
                                                 )    ORDER ACCEPTING FINDINGS AND
14                v.                             )    RECOMMENDATIONS OF UNITED
                                                 )    STATES MAGISTRATE JUDGE
15   CITY OF HAWTHORNE, et al.,                  )
                                                 )
16                       Defendants.             )
                                                 )
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18         Pursuant to 28 U.S.C. Section 636, the Court has reviewed the pleadings, the
19   records on file, and the Amended Report and Recommendation of the United States
20   Magistrate Judge. No Objections to the Amended Report and Recommendation have been
21   filed within the time allowed for Objections. The Court accepts the findings and
22   recommendations of the Magistrate Judge.
23         IT IS ORDERED that: (1) Defendants’ Motion for Summary Judgment is GRANTED;
24   and (2) Judgment shall be entered dismissing the action with prejudice.
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26   DATED: January 11, 2021
                                                            GEORGE H. WU
27                                                   UNITED STATES DISTRICT JUDGE
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